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United States District Court D'STRICT°MR'Z°NA

 

 

United States of America DOCKET NO.
v.
Miguel Angel Marquez-Martinez
DOB: XX/XX/l985; Citizen of Mexico; MAG|STRATE,S CASE NO_

 

 

A#: 087 903 011 n g wl-
Complaint for violation of Title 8 United States Code § l326(b)(2)
NAME OF JUDGE OR MAGISTRATE OFFICIAL TITLE LOCATION

UNlTED STATES MAGlSTRATE JUDGE TUCSON, ARIZONA

 

 

 

DATE OF OFFENSE PLACE OF OFFENSE ADDRESS OF ACCUSED (if knOWn)
ON OR ABOUT AT OR NEAR
February 20, 2013 NOgaleS Districto Federal, Mexico

 

 

 

COMPLAINANT'S STATEMENT OF FACTS CONSTITUTING THE OFFENSE OR VlOLATlON:

On or about February 20, 2013 at or near Nogales, in the District of Arizona, Miguel Angel Marquez-Martinez, an
alien, entered, and was found in the United States of America after having been denied admission, excluded,
deported, and removed from the United States through Laredo, Texas on February 5, 2013 and not having obtained
the express consent of the Attomey General or the Secretary of the Department of Homeland Security to reapply for
admission thereto; in violation of Title 8, United States Code§ 1326, enhanced by Title 8, United States Code§
1326(b)(2).

 

BASIS OF COMPLA|NANT'S CHARGE AGAINST THE ACCUSED:

Miguel Angel Marquez-Martinez is a citizen of Mexico. On February 5, 2013, Miguel Angel Marquez-Martinez was
lawfully denied admission, excluded, deported, and removed from the United States through Laredo, Texas. On
February 20, 2013, agents found Miguel Angel Marquez-Martinez in the United States at or near Nogales, Arizona
without the proper immigration documents Miguel Angel Marquez-Martinez did not obtain the express consent of
the Attomey General or the Secretary of the Department of Homeland Security to re-apply for admission to the
United States.

 

MATERIAL WITNESSES IN RELATION TO THE CHARGE:

 

 

 

 
    

 

 

 

 

DETENTION REQUESTED (s: l‘ T n EoFcoMPL ~A~T
Being duly sworn, I declare that the foregoing is
true and correct to the best of my knowledge. ' li erner `
oFFlClAL TlTLE v _
Authorized by AUSA Liza Granoff U_S_ Border Patrol Agem
Sworn to efore me and su o’ cribed in my presence.
sic ""`" ` " .; ` 1)ATE ZZ
February}l/, 2013

 

 

)See Fe eraliru|es ofCriminal Procedure Rules 3 and 54

 

